         Case 1:17-cv-05205-NRB Document 74 Filed 09/13/19 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


 KNIGHT FIRST AMENDMENT INSTITUTE
 AT COLUMBIA UNIVERSITY, et al.,

                Plaintiffs,
                                                        No. 17-cv-5205 (NRB)
        v.

 DONALD J. TRUMP, President of the United
 States, et al.,

                Defendants.



                                 MOTION TO WITHDRAW

       Defendants respectfully move for Daniel Halainen to withdraw as counsel in the above-

captioned matter, which is currently subject to an appeal to the U.S. Court of Appeals for the

Second Circuit. As the attached declaration explains in further detail, Mr. Halainen will be

leaving his current position in the Civil Division on September 13, 2019. Michael Baer of the

U.S. Department of Justice will continue to serve as counsel of record for the United States.


Dated: September 13, 2019                    Respectfully submitted,

                                              /s/ Daniel Halainen
                                             MICHAEL BAER
                                             DANIEL HALAINEN
                                             Trial Attorneys
                                             United States Department of Justice
                                             Civil Division, Federal Programs Branch
                                             1100 L Street, NW
                                             Washington, DC 20530
                                             Phone: (202) 616-8101
                                             daniel.j.halainen@usdoj.gov

                                             Counsel for Defendants
Case 1:17-cv-05205-NRB Document 74-1 Filed 09/13/19 Page 1 of 1
        Case 1:17-cv-05205-NRB Document 74-2 Filed 09/13/19 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


 KNIGHT FIRST AMENDMENT INSTITUTE
 AT COLUMBIA UNIVERSITY, et al.,

                Plaintiffs,
                                                       No. 17-cv-5205 (NRB)
        v.

 DONALD J. TRUMP, President of the United
 States, et al.,

                Defendants.



             [PROPOSED] ORDER GRANTING MOTION TO WITHDRAW

       The Court hereby GRANTS Defendants’ motion for Daniel Halainen to withdraw as

attorney of record for the United States.


Dated: ____________                   ______________________________

                                      Naomi Reice Buchwald
                                      United States District Judge




                                                1
